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 6
                IN AND FOR THE UNITED STATES DISTRICT COURT
 7
                             NORTHERN DISTRICT
 8                       DIVISION OF SAN FRANCISCO
 9                                            CASE NUMBER: 3:24-cv-03628-WHO
     MARTIN ENG LEE,
10
                     Plaintiff,               [Honorable Senior      District   Judge
11
                                              William H. Orrick]
12        v.
13                                            OBJECTIONS OF PLAINTIFF
     LEGAL RECOVERY LLC, a California         MARTIN ENG LEE
14   limited liability company; DEMAS YAN,
15   AN INDIVIDUAL; CHEUK YAN, an
     individual; SAN FRANCISCO SHERIFF'S
16   DEPARTMENT, a government entity;
17   TINA FOON YAN, AN INDIVIDUAL;
     BRYANT FU, AN INDIVIDUAL; TONY
18
     FU, AN INDIVIDUAL; DUY THAI, AN
19   INDIVIDUAL; CHARLES LI, AN
     INDIVIDUAL; CRYSTAL LEI, AN
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     INDIVIDUAL; and DOES 1-10, inclusive,
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22                   Defendants.

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                                     OBJECTIONS
            Case 3:24-cv-03628-WHO Document 14 Filed 08/01/24 Page 2 of 3



 1                                        OBJECTIONS
 2
 3         PLAINTIFF MARTIN ENG LEE files timely OBJECTIONS to the
 4   screening order of the prior magistrate judge Alex Tse.
 5         Jurisdiction
 6        Federal Racketeer Influenced and Corrupt Organizations Act
 7         This Court has original subject-matter jurisdiction pursuant to 18 U.S.C. § 1964(c)
 8   -(d), and 28 U.S.C. § 1331 because this action arises, in part, under the Federal Racketeer
 9   Influenced and Corrupt Organizations Act (“Federal RICO”).
10         This Court has jurisdiction over Plaintiff’s related state and common law claims
11   pursuant to the doctrine of supplemental jurisdiction, 28 U.S.C. § 1367.
12         Federal RICO
13          Federal RICO is furthered via the enterprise, predicate acts and pattern of
14   racketeering activities of Defendants Legal Recovery LLC, collectively, based on the
15   actions and omissions of (1) Defendants Demas Yan, Cheuk Yan; (2) one or more former
16   officers and former directors of Legal Recovery LLC, including but not limited to
17   persons, such as Defendants Tina Foon Yan, Bryant Fu or Brian Fu, Tony Fu, Duy Thai,
18   Charles Li, Crystal Lei and/or related individuals; (3) one or more former senior officials
19   of the Defendants Legal Recovery LLC, and/or (4) employees, officers and directors of
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     Defendants Legal Recovery LLC and related organizations.
21
            Alter Ego
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               Plaintiff states that there is unity of interest and ownership between Defendants
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     such that any individuality and separateness between these defendants has ceased. As
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     such, there exists such a unity of interest between Defendants that failure to recognize the
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     alter ego relationship among them would lead to inequitable results.
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                                           OBJECTIONS
             Case 3:24-cv-03628-WHO Document 14 Filed 08/01/24 Page 3 of 3



 1          Fed. Rul. Civ. Proc. Rule 15
 2
                Plaintiff has, as a matter of right, under Fed. Rul. Civ. Proc. R. 15(a), the
 3
 4   first- amended complaint was filed timely. The amended civil cover sheet was also filed
 5
     concurrently. Thus, Plaintiff has met all jurisdictional requirements along with any local
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 7
     rules and orders.

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 9
           Issuance of Summons

10         The court should issue the summons so as for Plaintiffs to properly serve
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     the Defendants.
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           Striking and Dismissing
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           The court should refrain from striking the first-amended complaint and dismissing
16
17   the entire lawsuit based on the afore-stated meeting of the jurisdictional requirements,
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     filing of the first-amended complaint, the amended civil-cover sheet showing RICO as a
19
20   jurisdictional basis in this district court, and the FRCP Rule 15.
21   ///
22   DATED: August 01, 2024                         LAW OFFICE OF RESHMA KAMATH
23
24
25
                                                      /S/ Reshma Kamath
26                                                   RESHMA KAMATH
27
                                                     Counsel for PLAINTIFF,
28                                                   MARTIN ENG LEE


                                           OBJECTIONS
